      1:18-cv-00473-MGL         Date Filed 02/19/18      Entry Number 1          Page 1 of 6




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                    AIKEN DIVISION


Mozelle Luchie,
                                              Civil Action No.        1:18-473-JFA
                                Plaintiff
                                                         COMPLAINT
vs.

                                                       (Jury Trial Requested)
Convergent Outsourcing, Inc.,

                              Defendant




      Plaintiff, complaining of the Defendant above-named, would show this Court:

                                       JURISDICTION

  1. The Plaintiff is a resident of Aiken, State of South Carolina.

  2. The Defendant Convergent Outsourcing, Inc. is a foreign corporation with its principal place

      of business, “nerve center” and headquarters in the State of Washington.

  3. This Court has jurisdiction over the parties and subject matter of this action under 28 U.S.C.

      §§ 1331 and 1337.

  4. Plaintiff would further show that the amount in controversy exceeds $75,000.00.

  5. There is complete diversity of citizenship between all parties.

  6. In addition to jurisdiction as stated above, this Court additionally has jurisdiction over the

      parties and subject matter of this action under 28 U.S.C. § 1332.

                                     FACTUAL ALLEGATIONS

  7. On or before May 22, 2007, Plaintiff became unable to pay an automobile loan to Citizens

      One Auto Finance; the vehicle was thereafter repossessed.
   1:18-cv-00473-MGL        Date Filed 02/19/18       Entry Number 1       Page 2 of 6




8. Citizens One Auto Finance brought no action to collect the alleged deficiency following

   repossession and sale, and the statute of limitations for collection via court proceeding

   expired.

9. In or around April of 2014, the debt became obsolete for credit reporting, and could no

   longer be reported.

10. Upon information and belief, in or around 2017 Citizens One Auto Finance placed the

   above debt for collection with Defendant.

11. On or about August 15, 2017, Defendant obtained a copy of Plaintiff’s Experian credit

   report.

12. On or about August 17, 2017 Defendant wrote Plaintiff demanding payment on the debt;

   while the letter disclosed that the account was past the limitations debt for collection and

   that the account could not be reported to a credit reporting agency, such disclosures – as

   well as the consumer’s right to dispute the account – appeared only on the reverse side of

   the letter, and were overshadowed by the demand for payment in the main body of the

   letter.

13. On or about August 25, 2017, Defendant used an automated telephone dialing system to

   repeatedly dial Plaintiff’s cellular phone, and continued calling her every day thereafter.

14. The volume and timing of the calls was unreasonable and harassing.

15. Never did Plaintiff consent to Defendant contacting her on her cellular phone.

16. As a direct and proximate result of the Defendant’s collection efforts on a stale,

   uncollectible debt, Plaintiff’s legitimate expectation of privacy has been invaded, and she

   has experienced emotional distress from getting calls on a nearly daily basis from

   Defendant, and the implied “time sensitive” nature of nature of Defendant’s letter, which

   implied, falsely, that Defendant was required to offer a 50% reduction to her for 60 days,

   but thereafter could or would not offer a reduction.



                             FIRST CAUSE OF ACTION
   1:18-cv-00473-MGL           Date Filed 02/19/18      Entry Number 1       Page 3 of 6




                    (Violation of Telephone Consumer Protection Act)

17. The allegations contained hereinabove are repeated as if fully alleged verbatim, to the

   extent not inconsistent with this cause of action.

18. Defendant’s telephonic activities are governed by the Telephone Consumer Protection Act,

   47 USC 227; 47 CFR 64.1200.

19. Never did Plaintiff consent to receiving calls from Defendant on a wireless device.

20. Further, to the extent Defendant had or believed it had Plaintiff’s consent to call via means

   regulated by the TCPA, such consent was revoked.

21. Plaintiff is informed that Defendant thereafter continued to contact Plaintiff’s cellular

   telephone, with an automated dialing system or otherwise.

22. Upon information and belief, Defendant placed calls using a pre-recorded message, with

   no permissible purpose, in violation of 47 CFR 64.1200 (2).

23. Plaintiff is informed and believes that Defendant committed the above violations multiple

   times, and that said violations were willful.

24. Plaintiff is informed and believes that Plaintiff may recover $500.00 per violation, plus

   such other damages, penalties, attorney’s fees and costs as allowed by law.

25. Plaintiff is further entitled to, and requests, injunctive relief requiring Defendant to cease

   and desist any further calling activity, and to award a penalty in the amount of $1,500.00

   per such violation, plus fees, costs, and such other relief as is just and proper.

                               SECOND CAUSE OF ACTION

                                     (Violation of FDCPA)

26. The allegations contained hereinabove are repeated as if fully alleged verbatim, to the

   extent not inconsistent herewith.

27. Plaintiff is a consumer.

28. Defendant is a debt collector.

29. Defendant’s conduct, involves an attempt to collect a “debt” the FDCPA defines it.
   1:18-cv-00473-MGL          Date Filed 02/19/18       Entry Number 1     Page 4 of 6




30. Defendant communicated with the Plaintiff at unusual times or places and/or a time or

   place known, or which should be known to be inconvenient to the Plaintiff in violation of

   15 U.S.C. § 1692c(a)(1).

31. Defendant caused Plaintiff telephone to ring or engaged Plaintiff in telephone conversation

   repeatedly or continuously with intent to annoy, abuse, or harass any person at the called

   number in violation of 15 U.S.C. § 1692d (5).

32. Defendant placed telephone calls without meaningful disclosure of the caller's identity in

   violation of 15 U.S.C. § 1692d (6).

33. Defendant falsely represented of (A) the character, amount, or legal status of any debt; or

   (B) any services rendered or compensation which may be lawfully received by any debt

   collector for the collection of a debt.

34. Defendant used false representations or deceptive means to collect or attempted to collect

   any debt or to obtain information concerning the Plaintiff.

35. Defendant failed to disclose in subsequent communications that the communication is from

   a debt collector.

36. Plaintiff should be granted judgment against Defendant for actual damages and such

   penalties and attorney fees as authorized by statute, and such other relief as is just and

   proper.

                                  THIRD CAUSE OF ACTION

                            (Violation of SC Code §39-5-10, et. seq.)

37. The allegations contained hereinabove are repeated as if fully alleged verbatim, to the

   extent not inconsistent with this cause of action.

38. The activities of the Defendant constitute “trade or commerce” as defined by South

   Carolina Code Section 39-5-10, et.seq., (as amended).

39. The actions of the Defendant, above-described, constitutes unfair and deceptive acts and

   practices in the conduct of trade and commerce, as prohibited by the South Carolina Unfair

   Trade Practices Act, 39-5-10 et.seq., and are willful violations thereof.
       1:18-cv-00473-MGL          Date Filed 02/19/18         Entry Number 1      Page 5 of 6




   40. The actions of the Defendant have a real and substantial potential for repetition and affect

       the public interest.

   41. The Plaintiff has suffered an ascertainable loss due to the unlawful actions of the

       Defendant, entitling Plaintiff to recover actual damages in an amount to be proven at trial,

       treble said actual damages, and an award of attorney’s fees and costs.

                                 FOR A FOURTH CAUSE OF ACTION

                                     (Violation of SC Code § 37-5-108)

   42. The above allegations are repeated and realleged as if set forth verbatim, to the extent not

       inconsistent with the allegations of this cause of action.

   43. The transaction or alleged transaction described above is a consumer transaction.

   44. Upon information and belief, the Defendant engaged in unconscionable conduct in these

       particulars and such others to be proven at trial:

           a. Defendant communicated with the Plaintiff at frequent intervals.

           b. Defendant communicated at time or place otherwise known or which should be

                 known to be inconvenient to the Plaintiff.

           c. Defendant used fraudulent, deceptive, or misleading representations, including

                 representations about the character, amount, or legal status of the alleged debt.

   45. Plaintiff should be granted judgment against Defendant for actual damages and such

       penalties and attorney fees as authorized by statute, and such other relief as is just and

       proper.




                                      PRAYER FOR RELIEF

       WHEREFORE, the prayer of the Plaintiff is for judgment in an amount sufficient to

compensate Plaintiff for actual damages, with punitive damages, statutory damages, such interest

as is allowable by law, costs, attorney’s fees, and such other relief as is just and proper.
      1:18-cv-00473-MGL   Date Filed 02/19/18   Entry Number 1   Page 6 of 6




                              DAVE MAXFIELD, ATTORNEY, LLC

                              By:   s/ Dave Maxfield_____________________
                                    David A. Maxfield, Esq., Fed ID 6293
                                    5217 N. Trenholm Road, Suite B
                                    Columbia, SC 29206
                                    803-509-6800
                                    855-299-1656 (fax)
                                    dave@consumerlawsc.com



February 16, 2018
